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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF SOUTH DAKOTA

                                       SOUTHERN DIVISION


 VITALIY          STRIZHEUS, NATALIYA                              4:23-CV-04028-RAL
 STRIZHEUS,

                         Plaintiffs,
                                                           ORDER GRANTING UNOPPOSED
                                                          MOTION TO FILE A SUBSTITUTED
         vs.                                            SECOND AMENDED COMPLAINT AND
                                                        JOINT MOTION TO STAY DEADLINES
 THE CITY OF SIOUX FALLS, SOUTH
 DAKOTA,

                         Defendant.



        On April 18, 2023, the parties made a Joint Motion to Stay Deadlines requesting a 60-day

stay. Doc. 44. Plaintiffs had previously filed an Unopposed Motion to Withdraw Motion for


Leave to File Second Amended Complaint (Doc. 36) and Motion for Leave to File a Substituted

Second Amended Complaint. Doc. 41. For good case it is


       ORDERED that Plaintiffs' Unopposed Motion to Withdraw Motion for Leave to File

Second Amended Complaint is granted and that the prior motion to Amend Complaint, Doc. 36,


is denied as moot. It is further


       ORDERED that the Motion for Leave to File a Substituted Second Amended Complaint,

Doc. 41, is granted under Federal Rule of Civil Procedure 15 and Plaintiffs have leave to file and


serve the Substituted Second Amended Complaint in the form attached as Doc. 41-1. It is further


       ORDERED that the Joint Motion to Stay Deadlines, Doc. 44, is granted to stay the case for


60 days to allow the parties to exhaust settlement discussions. It is further
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        ORDERED that Defendant's response to the Second Amended Complaint is due 21 days


from when the stay is lifted. It is finally

        ORDERED that this Court will treat Defendant's Motion to Dismiss with Prejudice, Doc.


34, as applying to the Second Amended Complaint unless Defendant wishes to withdraw the


motion to file a revised motion to dismiss.


       DATED this 19th day of April, 2023.



                                              BY THE COURT:


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                                              ROBERTO A. LANGE
                                              CHIEF JUDGE
